Case 8:24-bk-10483-TA             Doc 12 Filed 03/05/24 Entered 03/05/24 16:29:17                    Desc
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 5 Proposed General Bankruptcy Counsel for Heycart                          CLERK U.S. BANKRUPTCY COURT
   Inc, Debtor and Debtor-in-Possession                                     Central District of California
                                                                            BY deramus DEPUTY CLERK
 6

 7
                                                        CHANGES
                                   UNITED STATES BANKRUPTCY COURTMADE BY COURT
 8
                       CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
 9
     In re                                                   Case No. 8:24-bk-10483-TA
10
     HEYCART, INC,                                           Chapter 11
11
                        Debtor and Debtor in                 ORDER SCHEDULING HEARING ON
12                      Possession.                          DEBTOR’S EMERGENCY MOTION FOR
                                                             AUTHORITY TO USE OF CASH
13                                                           COLLATERAL

14                                                           Date:   March 13, 2024
                                                             Time:   10:00 a.m.
15                                                           Crtrm.: 5B via ZoomGov

16

17            Heycart, Inc, as debtor and debtor in possession (the “Debtor”), having requested an
18 emergency hearing on the approval of the Debtor’s use of cash collateral, and good cause appearing

19 therefor, it is hereby

20            ORDERED THAT:
21            1.        The Court will hold a hearing on such motion on March 13, 2024, at 10:00 a.m.
22            2.        Debtor’s counsel must file the motion for authority to use cash collateral and give
23 email notice to the 20 largest creditors and telephonic notice to the United States Trustee and

24 secured creditors by no later than March 11, 2024, at 10:00 a.m.

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     //
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     1750983.1 27220                                     1
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 1            3.       Oppositions may be made orally at the hearing.

 2            4.       The ZoomGov connection information for the hearing is:

 3                     Video/audio web address:     https://cacb.zoomgov.com/j/1603126729

 4                     ZoomGov meeting number: 160 312 6729

 5                     Password:                    845507

 6                     Telephone conference lines: 1 (669) 254 5252 or 1 (646) 828 7666

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23    Date: March 5, 2024

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